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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 RUSSEL A. COX,                                        §
                                                       §
          Plaintiff,                                   §
                                                       §
 v.                                                    §     Civil Action No. 4:22-cv-310-ALM
                                                       §
 FIRST UNITED BANK & TRUST,                            §
                                                       §
          Defendant.                                   §

                                JOINT 26(f) CONFERENCE REPORT

         Pursuant to the Court’s Order [Doc. 6] and Federal Rule of Civil Procedure 26(f), Plaintiff

Russel A. Cox (“Plaintiff”) and Defendant First United Bank & Trust (“Defendant”) (collectively

the “Parties”) file this Joint 26(f) Conference Report. The conference was conducted informally

by email. Robert C. Newark, III appeared on behalf of Plaintiff and Shelley L. Hopkins appeared

on behalf of Defendant.

1.       A brief factual and legal synopsis of the case.

         RESPONSE: Plaintiff brought this lawsuit against Defendant to prevent foreclosure of the

         subject property and asserts claims against Defendant for negligence, violation of Texas

         Prop. Code Ann. Ch. 51, breach of contract, and injunctive relief. Defendant asserts that

         Plaintiff’s claims fail as a matter of law.

2.       The jurisdictional basis for the suit.

         RESPONSE: Jurisdiction is premised on diversity of citizenship as Plaintiff is a citizen of

         Texas and Defendant is a citizen of Oklahoma.

3.       A list of the correct names of the parties to this action and any anticipated additional

         or potential parties.



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        RESPONSE: The Parties are named correctly herein. The Parties do not anticipate any

        additional parties.

4.      A list of any cases related to this case pending in any state or federal court, identifying

        the case numbers and courts along with an explanation of the status of those cases.

        RESPONSE: The Parties are not aware of any related cases.

5.      Confirm that initial mandatory disclosure required by Rule 26(a)(1) and this order

        has been completed.

        RESPONSE: Plaintiff served initial mandatory disclosures on May 2, 2022. Defendant

        served initial mandatory disclosures on May 16, 2022.

6.      Proposed scheduling order deadlines.

        RESPONSE: See Exhibit A, the Proposed Scheduling Order.

7.      Describe in accordance with Rule 26(f):

        (i)     The subjects on which discovery may be needed, when discovery should be

                completed, and whether discovery should be conducted in phases or be limited

                to or focused on particular issues.

                RESPONSE: Discovery may be needed on the loan history and Plaintiff’s

                payments, failure to make payments and request for assistance. Discovery can be

                completed by October 5, 2022. It will not be necessary to conduct discovery in

                phases as the issues herein are relatively straightforward.

        (ii)    Any issues relating to disclosure or discovery of electronically stored

                information ("ESI"), including the form or forms in which it should be

                produced (whether native or some other reasonably usable format) as well as

                any methodologies for identifying or culling the relevant and discoverable ESI.



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                Any disputes regarding ESI that counsel for the parties are unable to resolve

                during conference must be identified in the report.

                RESPONSE: The Parties agree to exchange ESI in pdf or paper format.

        (iii)   Any agreements or disputes relating to asserting claims of privilege or

                preserving      discoverable   information,    including   electronically    stored

                information and any agreements reached under Federal Rule of Evidence 502

                (such as the potential need for a protective order and any procedures to which

                the parties might agree for handling inadvertent production of privileged

                information and other privilege waiver issues). A party asserting that any

                information is confidential should immediately apply to the court for entry of

                a protective order. Unless a request is made for modification, the court will

                use the form found on the Eastern District website.

                RESPONSE: The Parties do not anticipate issues concerning these topics. At this

                time, there are no causes of action asserted herein that will require the release of

                privileged material.

        (iv)    Any changes that should be made in the limitations on discovery imposed by

                the Rules, whether federal or local, and other limitations that should be

                imposed.

                RESPONSE: No changes.

        (v)     Whether any other orders should be entered by the Court pursuant to Federal

                Rule of Civil Procedure 26(c) or 16(b), (c).

                RESPONSE: None.




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8.      State the progress made toward settlement, and the present status of settlement

        negotiations, including whether a demand and offer has been made. If the parties

        have agreed upon a mediator, also state the name, address, and phone number of that

        mediator, and a proposed deadline for mediation. An early date is encouraged to

        reduce expenses. The Court will appoint a mediator if none is agreed upon.

        RESPONSE: The Parties have conducted some informal settlement negotiations at this

        time and are leaving the lines of communication open.

9.      The identity of persons expected to be deposed.

        RESPONSE: Plaintiff and Corporate Representative of Defendant.

10.     Estimated trial time and whether a jury demand has been timely made.

        RESPONSE: The Parties estimate that trial will require one day. No jury demand has been

        made.

11.     The names of the attorneys who will appear on behalf of the parties at the

        management conference (the appearing attorney must be an attorney of record and

        have full authority to bind the client).

        RESPONSE: Robert C. Newark, III will appear on behalf of Plaintiff. Shelley L. Hopkins

        or Robert D. Forster, II will appear on behalf of Defendant.

12.     Whether the parties jointly consent to trial before a magistrate judge.

        RESPONSE: Plaintiff does consent to trial before a magistrate judge. Defendant does not

        consent to trial before a magistrate judge.

13.     Any other matters that counsel deem appropriate for inclusion in the joint conference

        report or that deserve the special attention of the Court at the management

        conference.



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        RESPONSE: None at this time.


                                       Respectfully submitted,

                                       By:    /s/ Shelley L. Hopkins
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of May 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA ECF:
Robert C. Newark, III
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ATTORNEYS FOR PLAINTIFF

                                                      /s/ Shelley L. Hopkins
                                                      Shelley L. Hopkins




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